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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

UNITED STATES OF AMERICA                         )
                                                 )
               V.                                )   Case No. l:20-MJ-114
                                                 )
ZACKARY ELLIS SANDERS,                           )   UNDERSEAL
                                                 )
          Defendant.                             )
________________                                 )

                         AFFIDAVIT IN SUPPORT OF A
                CRIMINAL COMPLAINT AND AN ARREST WARRANT

       I, Jeremy Obie, being first duly sworn, hereby depose and state as follows:

                                      INTRODUCTION

       1.      I have been employed as a Special Agent by the Federal Bureau of Investigation

("FBI") since March 2016, and I am currently assigned to the FBI Washington Field Office's Child

Exploitation and Human Trafficking Taskforce. While employed by the FBI, I have investigated

federal criminal violations related to counterterrorism, violent crime, high technology or cyber-

crime, missing persons, child exploitation, and child pornography. I have gained experience in

these violations by conducting investigations into the sexual exploitation of children, as well as

the distribution and receipt of child pornography. I have received training in the area of child

pornography and child exploitation.     Additionally, I have investigated and assisted in the

investigation of criminal matters involving: the sex trafficking of children, in violation of 18

U.S.C. § 1591 ; and the sexual exploitation of children, in violation of 18 U.S.C. §§ 2251, 2252,

2252A, and 2422. Moreover, I am a federal law enforcement officer authorized by the Attorney

General to enforce violations of the laws of the United States, including but not limited to 18

U.S.C. §§ 1591 , 2251 , 2252, 2252A, 2422, and 2423. Prior to this assignment, I worked for the
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Department of Defense as an Electrical Engineer. I have a Bachelor's of Science and a Master's

of Science in Electrical Engineering.

       2.      The statements contained in this affidavit are based in part on information provided

by U.S. federal law enforcement agents; written reports about this and other investigations that I

have received, directly or indirectly, from other law enforcement agents; infmmation gathered

from the service of administrative subpoenas; the results of physical and electronic surveillance

conducted by law enforcement agents; independent investigation and analysis by law enforcement

agents/analysts and computer forensic professionals; and my experience, training, and background

as a Special Agent. This affidavit contains information necessary to support probable cause for

this application. Because this affidavit is being submitted for the limited purpose of establishing

probable cause for this application, I have not included every detail known to the government.

Rather, I have set forth only those facts that I believe are necessary to establish probable cause.

       3.      I submit this affidavit in support of a criminal complaint and arrest warrant charging

ZACKARY ELLIS SANDERS ("SANDERS"), of McLean, Virginia, which is within the Eastern

District of Virginia, with the production of child pornography, in violation of 18 U.S.C. § 225 l(a)

and (e). For the reasons set forth below, I submit that probable cause exists to believe that in at

least or about November 2019, SANDERS knowingly employed, used, persuaded, induced,

enticed, or coerced a minor to engage in sexually explicit conduct for the purpose of producing a

visual depiction of such conduct, or attempted to do so, and the visual depiction was transported

or transmitted using any means or facility of interstate or foreign commerce.

                      STATUTORY AUTHORITY AND DEFINITIONS

       4.      Title 18, U.S. Code, Section 225l(a) prohibits a person from employing, using,

persuading, inducing, enticing, or coercing any minor to engage in any sexually explicit conduct



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for the purpose of producing any visual depiction of such conduct or for the purpose of transmitting

a live visual depiction of such conduct, if such person knows or has reason to know that such visual

depiction will be transported or transmitted using any means or facility of interstate or foreign

commerce, or if such visual depiction has actually been transported or transmitted using any means

or facility of interstate or foreign commerce.

       5.      The term "minor," as defined in 18 U.S.C. § 2256(1), means any person under the

age of 18 years.

       6.      The term "sexually explicit conduct," as defined in 18 U.S.C. § 2256(2)(A)(i)-(v),

means actual or simulated (a) sexual intercourse, including genital-genital, oral-genital, anal

genital, or oral-anal, whether between persons of the same or opposite sex; (b) bestiality; (c)

masturbation; (d) sadistic or masochistic abuse; or (e) lascivious exhibition of the genitals or pubic

area of any person.

       7.      The term "visual depiction," as defined in 18 U.S.C. § 2256(5), includes

undeveloped film and videotape, data stored on computer disc or other electronic means which is

capable of conversion into a visual image, and data that is capable of conversion into a visual

image that has been transmitted by any means, whether or not stored in a permanent format.

       8.      The term "child pornography," as defined in 18 U.S.C. § 2256(8), is any visual

depiction, including any photograph, film, video, picture, or computer or computer-generated

image or picture, whether made or produced by electronic, mechanical or other means, of sexually

explicit conduct; where (a) the production of the visual depiction involved the use of a minor

engaged in sexually explicit conduct, (b) the visual depiction is a digital image, computer image,

or computer-generated image that is, or is indistinguishable from, that of a minor engaged in




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sexually explicit conduct, or (c) the visual depiction has been created, adapted, or modified to

appear that an identifiable minor is engaged in sexually explicit conduct.

                             SUMMARY OF PROBABLE CAUSE

        9.     The FBI, in conjunction with other law enforcement entities, is investigating

websites on which visitors can access and view child sexual abuse material.           Through this

investigation, the FBI received information that on or about May 23, 2019, an individual connected

to the internet through a specific Internet Protocol ("IP") address I and accessed a website that is

known to law enforcement to advertise child pornography. Law enforcement determined through

publicly available information that this IP address was issued by Cox Communications. Records

obtained from Cox Communications revealed that, on or about May 23, 2019, this IP address was

assigned to a relative of SANDERS at a residential address in McLean, Virginia, (the "SUBJECT

PREMISES").

        10.    On or about February 12, 2020, law enforcement agents executed a federal search

warrant, which had been issued by the U.S. District Court for the Eastern District of Virginia, to

search the SUBJECT PREMISES for child-pornography-related evidence. During the search of

the SUBJECT PREMISES, law enforcement determined that its only occupants were SANDERS

and his parents.




1
  Based on my training and experience, I know that an "Internet Protocol address" is a unique
numeric or alphanumeric string used by a computer or other digital device to access the internet.
Every computer or device accessing the internet must be assigned an IP address so that internet
traffic sent from and directed to that computer or device may be directed properly from its source
to its destination. Most Internet Service Providers ("ISPs") control a range of IP addresses. ISPs
typically maintain logs of the subscribers to whom IP addresses are assigned on particular dates
and times.


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         11.       SANDERS voluntarily agreed to be interviewed by law enforcement during the

search of the SUBJECT PREMISES. In this interview, SANDERS admitted to law enforcement

that he accessed and received child pornography through websites on the Tor network. 2

SANDERS also stated that he transfened child-pornography material that he downloaded over the

internet from his laptop to external media storage devices.

         12.      Law enforcement seized a number of electronic devices from the SUBJECT

PREMISES pursuant to the search wanant, including an Apple iPhone from SANDERS's person

and multiple electronic devices from SANDERS's bedroom in the residence. The devices seized

from SANDERS's bedroom include several thumb drives, an Apple iPad, and an HP laptop.

         13.      Law enforcement personnel conducted a forensic examination of the seized

devices.       The forensic examination of the Apple iPad uncovered personal and professional

documents and communications indicating that the device belonged to SANDERS. Additionally,

the forensic examination uncovered numerous conversations on Kik Messenger ("Kik"), a mobile

messaging application, 3 in which SANDERS, using the Kik username "DCSir" with a display

name that includes the phrase "Sir Zack," knowingly persuaded and attempted to persuade

purported minors to produce images and videos of themselves engaging in sexually explicit

conduct and to send those images and videos to SANDERS over the internet.




2
  Based on my training and experience, I know that the "Tor network" is a computer network
available to internet users that is designed specifically to facilitate anonymous communication over
the internet.

3
 Based on my training and experience, I know that Kik Messenger is a mobile application designed
for chatting or messaging. To use this application, a user downloads the application to a mobile
phone or digital device via a service such as the iOS App Store or Apple iTunes. Once the
application is installed, a user is prompted to create an account and username, as well as a display
name that is seen by other users when transmitting messages back and forth.
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       14.     Specifically, after learning that SANDERS's iPad had been used to communicate

with others on Kik using the Kik username DCSir, I conducted a search of the internet for

information related to the DCSir account and discovered multiple similar postings on an online

"sexting" forum made on various dates in 2018 and 2019 in which the individual who wrote the

posting stated that he was looking for "boys" and advertised the Kik username DCSir. For

example, in a posting dated February 3, 2019, an individual wrote the following:

       Dominant Sir looking for boys who are in Virginia, Washington DC, Maryland, or
       New York City to meet. I expect you to do as you're told, be obedient, and
       respectful. Open to one-time meets, but would prefer a boy who truly desires to
       become my sub or slave long-term, eventually being collared and owned
       permanently.

       For those elsewhere in the country/world other than the areas I've listed, I'm
       looking for boys who want to be blackmailed. This will be real, not a game. Make
       sure you understand this before messaging. Send a full body nude photo of yourself,
       as well as your age and where you are from.

       Kik: DCSir

       15.     The forensic examination of SANDERS's iPad revealed that, on or about
                                                                     I




November 10, 2019,   aKik user ("MINOR-1")    4
                                                  contacted SANDERS on his DCSir Kik account

and said "Hello sir zack," "I am 14 m uk". Based on my training and experience, I know that

MINOR-1 's statement was intended to convey that he was a 14-year-old male from the United

Kingdom. In response, SANDERS asked MINOR-I to send him "a live full body pie". MINOR-

1 then sent SANDERS an image that MINOR-I appears to have taken of himself and that depicts

an approximately 14-year-old boy, who is standing fully nude and posing to expose his penis.

SANDERS asked MINOR-I how MINOR-I found him, and MINOR-I responded that he found




4
 This Kik user's username and display name are known to law enforcement but are not included
here to protect victim privacy. See 18 U.S.C. § 3509.


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SANDERS's Kik information on an online forum that MINOR-1 referred to as the "[s]ex chat"

forum.

         16.   SANDERS then had the following exchange with MINOR-1 :5

SANDERS:       Okay. Before we begin, are you sure you fully read, understand, and accept what
               was written in the post on that site?

MINOR-1:       Yes sir

SANDERS:       Good. You are to record a video. You will show me your entire body, state your
               full name, and tell me both why you want to become a slave and why you feel you
               would be a good slave.

MINOR-I:       Can I message u it i'm at my nans atm

SANDERS:       When would you be home and able to record the video?

SANDERS:       ?

MINOR-I:       tomorrow sir?

SANDERS:       Alright. Send me the video tomorrow. We will talk and begin once I have received
               the video.

MINOR-I:       okay sir

SANDERS:       Do not forget.

MINOR-1:       sir what does this training entail

SANDERS:       What is it that you're worried about?

MINOR-I:       Nothing ijust want to know like what ima do

SANDERS:       Okay. Once you send me the video I will answer that. I don't want my answer to
               that question to influence what you say in the video. So once you do that, I'll answer
               your question.



MINOR-I:       if i send u avid of me naked and then i message why i want to be ur slave


5 All text abbreviations and typographical errors included in the excerpted text language are
original.
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MINOR-I:       does that work

SANDERS:       Why don't you want to talk?

MINOR-I:       Because my nan may hear

MINOR-I:       sir?

MINOR-I:       Can ijust send u some pies and tell u why i won't let u down master

MINOR-I:       and i'll do anything for u

MINOR-I:

SANDERS:       I want you to speak, so either go to a room where she won't hear, or send it
               tomorrow.

       17.     The following day, on or about November 11, 2019, MINOR-I sent SANDERS a

video depicting what appears to be a nude, young male from below the chest, fully exposing his

penis and testicles while manipulating his penis in his hand. An individual can be heard in the

video identifying himself by name. SANDERS told MINOR-I to send another video where

SANDERS can see MINOR-1 's full body, including his "face, ass, everything". MINOR-I then

sent SANDERS a 14-second video depicting what appears to be the same minor male depicted in

the image that MINOR-I sent the day before, fully nude. In the video, the minor sets the video

recording device down, takes a few steps back, and then turns in a circle, pausing at each 90-degree

interval so that his penis and buttocks are fully exposed.

       18.     In response, SANDERS told MINOR-I: "You're a cute little faggot. You will

always do as I say. From this point fmward I am going to train you. You will learn to become a

eerfect slave. As soon as you are old enough you will come here and permanently serve me as my

slave." When MINOR-I asked SANDERS what he will do in his training, SANDERS replied:

       And you will be taught how I expect you to act, speak, look, dress. You will be
       given tasks, assignments, orders, and punishments all to prepare both your mind


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      and your body. You will learn you are my property, that you belong to me, and that
      your sole purpose is to serve me.

      19.    After MINOR-1 informed SANDERS that his bitihday had recently passed,

SANDERS and MINOR-I had the following exchange:

SANDERS:     So you just turned 14 then? And I just wanted to know when you might be able to
             come here.

MINOR-I:     ye

SANDERS:     Oh you are young. Okay. I want you to shave your entire body, except for your
             head.

MINOR-I:     I've never shaved

SANDERS:     I can see that.

MINOR-I:     dunno how to

MINOR-I:     i'm dumb

SANDERS:     I'm sure you can figure it out.

MINOR-I:     Doi ahev to shave master

SANDERS:     Yes.

MINOR-I:     what if i don't

MINOR-I:     what is the punishment

MINOR-I:     ?

SANDERS:     If you don't do something when I tell you to you' 11 be punished but you' 11 still have
             to do it ...

SANDERS:     You need to answer me boy.

MINOR-I:     Okay

MINOR-I:     but i don't wnat to shave

MINOR-I:     sur



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SANDERS:     I don't care. It's not all about what you want.

MINOR-I:     Yes sir

SANDERS: . Now you're. going to shave, and then we'll discuss you punishment for not doing
           what I said the first few times I tolg you.

MINOR-I:     okay sir

MINOR-I:     but my mum doesn't want me to shave

MINOR-I:     what do i do

SANDERS:     What did she say? Why did you even talk to hei· about it?

MINOR-I:     I didn't

MINOR-I:     she doesn' t wnat me to shave until i'm older

SANDERS:     How do you know?

MINOR-I:     she's told me

MINOR-I:     do all my pubes all ahve to be gone

SANDERS:     Yes.

MINOR-I:     Please sir

MINOR-I:     i don' t wnat to

MINOR-I:     shave .

MINOR-I:     Anything else

MINOR-I:     I'll do anything else

MINOR-I:     Litter play anything u desire

MINOR-I:     literally

MINOR-I:     Please sir

MINOR-I:     ?

MINOR-I:     I wnat this i just can't shave yet


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MINOR-I:       master?

SANDERS:       No. And every time I have to tell you again the punishment is getting worse.

       20.     On or about November 14, 2019, after agreeing to shave, MINOR-I sent

SANDERS an image focused on what appears to be his erect penis with his pubic hair pa11ially

shaven off. In response, SANDERS wrote "I'm sure you can get a little more." MINOR-I then

sent SANDERS a different image focused on what appears to be his erect penis with his pubic hair

partially shaven off. After receiving this image, SANDERS wrote "Better, but you still need to do

a little more" and "Make it so I can't see any hair." MINOR-I then sent SANDERS an image

focused on what appears to be his erect penis with his pubic hair completely shaven off. In

response, SANDERS wrote "Okay, now send me a full body pie," and MINOR-I then sent

SANDERS an image of the same fully nude male described above with his erect penis exposed.

       21.     After receiving the "full body pie," SANDERS sent MINOR-I the following

message: "Good boy. Now for your punishment. You're going to slap yourself on your balls as

hard as you can 40 times. You will record yourself doing this and then send me the video."

MINOR-I then sent SANDERS a 49-second video of what appears to be the same fully nude minor

boy clutching his penis with one hand to expose his testicles and slapping his testicles with the

other hand approximately 40 times while wincing at various points. After sending the video,

MINOR-1 wrote "that's hurt". SANDERS replied "Good. Now if you ever disobey me again the

punishment will be worse next time."

       22.     The forensic examination of SANDERS's iPad uncovered other sexually explicit

chats from in or around October 2019 to in or around February 10, 2020, that SANDERS had on

Kik with individuals who identified themselves as minors, including chats where SANDERS

instructed the purported minors to send nude images or videos of themselves.           A forensic


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examination of the Apple iPhone seized from SANDERS's person during the search of the

SUBJECT PREMISES similarly uncovered online chats from various mobile messaging platforms

in which SANDERS appears to have asked purported minors in the Virginia area and elsewhere

to take and send him nude images and videos of themselves, including at least one other chat from

in which SANDERS instructed an individual who identified himself as a minor to take and send

SANDERS a video of the purported minor repeatedly slapping his testicles as punishment.

       23.     A forensic examination of the HP laptop seized from SANDERS's bedroom in the

SUBJECT PREMISES uncovered multiple videos and images depicting minors engaged in

sexually explicit conduct. For example, law enforcement found an approximately 19-minute video

on the laptop that is a compilation of footage depicting what appears to be multiple adult men

engaging in oral and anal sex with the same approximately 11-year-old boy, and at one point

whipping the nude child with what appears to be a belt. At various points in the footage, the minor

has his limbs bound with rope, is gagged with a cloth, and/or has a rope tied around his neck.

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                                        CONCLUSION

       24.     Based on the foregoing, I submit that there is probable cause to believe that in at

least or about November 2019, ZACKARY ELLIS SANDERS, of McLean, Virginia, knowingly

produced and attempted to produce child pornography, in violation of 18 U.S.C. § 225 l(a) and (e),

and respectfully request that a criminal complaint and arrest warrant be issued for SANDERS.



                                                            Respectfully submitted,



                                                            Jer my Obie, Special Agent
                                                            Fe eral Bureau oflnvestigation
       Sworn and subscribed to by telephone
       this 19th day of March, 2020.



       The Honorable Ivan D. Davis
       United States Magistrate Judge




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